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                    IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

In re:                                        :     CHAPTER 11

SCUNGIO BORST & ASSOCIATES, LLC               :     BANKRUPTCY NO. 22-10609(AMC)

                       Debtor                 :


                  COMPENSATION DISCLOSURE NOTICE OF DEBTOR
                  PURSUANT TO LOCAL BANKRUPTCY RULE 4002-1(b)

TO:      THE OFFICE OF THE U.S. TRUSTEE, TWENTY LARGEST UNSECURED
         CREDITORS, CREDITORS HOLDING SECURED CLAIMS, AND FED. R.
         BANK. P. 2002 PARTIES; NOTICE IS HEREBY GIVEN THAT:

         Scungio Borst & Associates, LLC (the “Debtor”), by and through its proposed counsel,

Karalis PC, hereby files its Compensation Disclosure Notice pursuant to Local Bankruptcy Rule

4002-1(b), and in support thereof, respectfully represents as follows:

I.       BACKGROUND

         On March 11, 2022 (the “Petition Date”), the Debtor filed a voluntary petition for relief

pursuant to Chapter 11 of Title 11, United States Code (the “Bankruptcy Code”). Since the

Petition Date, the Debtor has remained in possession of its assets and is liquidating its business

as a debtor-in-possession pursuant to §§ 1107 and 1108 of the Bankruptcy Code. The Debtor

compensates its members as follows:

II.      POSITION, TITLE, AND DUTIES OF MEMBERS

         Scott P. Scungio. Scott P. Scungio (“Mr. Scungio”) is the sole managing member of

Scungio & Company LLC which is a fifty (50%) member of the Debtor. In this capacity, Mr.

Scungio performs the following principal duties:
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               a.      Prior to the Petition Date, Mr. Scungio and Philip L. Borst, the other 50%
                       member of the Debtor, were equally responsible for overseeing all of the
                       Debtor’s day-to-day operations; and

               b.      After the Petition Date, Mr. Scungio will be primarily responsible for
                       overseeing the liquidation of the Debtor’s assets.

III.   COMPENSATION AND BENEFITS TO BE PAID TO MR. SCUNGIO

       In consideration for providing the services set forth herein, the Debtor intends to: (a) pay

Mr. Scungio the gross bi-weekly amount of $1,538.46 and (b) provide health insurance benefits.

For the ninety (90) day, and one-hundred and eighty (180) day, period prior to the Petition Date,

Mr. Scungio earned the equivalent of bi-weekly compensation of $1,538.46 and was provided

with health insurance benefits. For the one-year period prior to the Petition Date, Mr. Scungio

earned the equivalent of bi-weekly compensation of $2,823.17 and was provided with health

insurance benefits.


                                             Respectfully submitted,

                                             KARALIS PC

                                             By:    /s/ Robert W. Seitzer_____________
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                                                    Proposed Attorneys for the Debtor
Dated: April 1, 2022
